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                                           October 26, 2018

Honorable Richard J. Sullivan
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

Re:      United States v. Akayed Ullah, 18 Cr. 16 (RJS)

Dear Judge Sullivan:

        In light of the recent events involving the delivery of pipe bombs through the mail in
New York and other locations in the United States and the extensive media coverage of those
events, we request that the Court ask the prospective jurors the following questions:
      1. Some of you may have read or heard the recent news coverage about a series of pipe
         bombs delivered by mail in New York and other locations in the United States.
      2. Those events have nothing to do with the allegations in this case.
      3. Is there anything you have heard about the recent events that will affect your ability to be
         fair and impartial in this case?
         The Government joins in this request.


                                                       Respectfully submitted,
                                                               /s/
                                                       ___________________________
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cc:      Shawn Crowley,
         Rebekah Donaleski,
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